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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IRON WORKERS’ MID-AMERICA                    )
PENSION PLAN,                                )
                                             )
IRON WORKERS’ MID-AMERICA                    )
SUPPLEMENTAL MONTHLY                         )       CIVIL ACTION
ANNUITY (SMA) FUND,                          )
                                             )       NO. 20 C 2506
PAUL E. FLASCH,                              )
as Administrative Manager,                   )       JUDGE
                                             )
                      Plaintiffs,            )
                                             )
       vs.                                   )
                                             )
UNITY FENCING COMPANY,                       )
an Illinois corporation,                     )
                                             )
                      Defendant.             )


                                         COMPLAINT


       The Plaintiffs, IRON WORKERS’ MID-AMERICA PENSION PLAN, IRON WORKERS’

MID-AMERICA SUPPLEMENTAL MONTHLY ANNUITY (SMA) FUND and PAUL E.

FLASCH, as Administrative Manager, by their attorneys, complaining of the Defendant, UNITY

FENCING COMPANY, an Illinois corporation, allege as follows:

       1.      This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145 (herein-

after referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.
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       2.       Plaintiffs, the IRON WORKERS’ MID-AMERICA PENSION PLAN and IRON

WORKERS’ MID-AMERICA SUPPLEMENTAL MONTHLY ANNUITY (SMA) FUND, are

pension and related joint, labor-management funds and bring this action as "employee pension

benefit funds", and "plans", under ERISA and Plaintiff, PAUL E. FLASCH, is the Administrative

Manager of Plaintiff Funds and a fiduciary with respect thereto. Plaintiff Funds are administered

within this District and Division.

       3.       Defendant is obligated to make fringe benefit contributions to the Funds under the

terms of the Agreements and Declarations of Trust establishing and outlining the administration of

these Funds, and pursuant to the terms of one or more collective bargaining agreements entered into

by Defendant.

       4.       As an employer obligated to make fringe benefit contributions to the Funds,

Defendant is specifically required to do the following:

       (a)      To submit to Plaintiffs for each month, by the 15th day of the month following the
                month for which the report is made, a report stating the names, social security
                numbers, and total hours worked or for which wages were received in such month by
                each and every person on whose behalf contributions are required to be made by
                Defendant to Plaintiffs; or, if no such persons are employed for a given month, to
                submit a report so stating;

       (b)      To have a duly authorized agent verify said reports by signature and to accompany
                the reports with payment of contributions based upon an hourly rate as stated in the
                applicable agreements;

       (c)      To make all of its payroll books and records available to Plaintiffs for the purpose of
                auditing same, to determine whether Defendant is making full payment as required
                under the applicable agreements;

       (d)      To compensate Plaintiffs for the additional administrative costs and burdens imposed
                by Defendant’s failure to pay, or untimely payment of, contributions, by way of the
                payment of liquidated damages in the amount of 1 ½% per month on the whole



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               amount of contributions remaining from time to time unpaid, together with interest
               as provided in ERISA, 29 U.S.C. §1132(g);

       (e)     To pay any and all costs incurred by Plaintiffs in auditing Defendant’s payroll
               records, should it be determined that Defendant was delinquent in the reporting or
               submission of all contributions required of it to be made to Plaintiffs;

       (f)     To pay Plaintiffs’ reasonable attorneys’ fees and costs necessarily incurred in the
               prosecution of any action to require Defendant to submit its payroll books and
               records for audit or to recover delinquent contributions;

       (g)     To furnish to Plaintiffs a bond with good and sufficient surety thereon, in an amount
               acceptable to Plaintiffs, to cover future contributions due the Plaintiffs.

       5.      Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the plans in the following respects:

       (a)     Defendant has failed and refused to verify and submit all of its reports to Plaintiffs
               due, to date, and/or, has failed to make payment of all contributions acknowledged
               by Defendant thereon to be due Plaintiffs;

       (b)     Defendant has made payment of contributions due Plaintiffs, but such payment was
               made in an untimely fashion pursuant to the collective bargaining agreement and
               Trust Agreements. Plaintiffs have assessed liquidated damages and accrued interest
               against the Defendant as authorized by the Trust Agreements and ERISA, but
               Defendant has failed and refused to make payment of said liquidated damages and
               accrued interest.

       6.      That upon careful review of all records maintained by Plaintiffs, and after application

of any and all partial payments made by Defendant, there is a total of $6,982.45, known to be due

Plaintiffs from Defendant, subject however to the possibility that additional monies may be due

Plaintiffs from Defendant based upon Defendant’s failure to submit all required reports, or to

accurately state all hours for which contributions are due on reports previously submitted, and

subject further to the possibility that additional contributions and liquidated damages may come due

during the pendency of this lawsuit.



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           7.          Plaintiffs have requested that Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.

           8.          Defendant’s continuing refusal and failure to perform its obligations to Plaintiffs is

causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs have no

adequate remedy at law.

           WHEREFORE, Plaintiffs pray:

           (A)         That an account be taken as to all employees of Defendant covered by the collective
                       bargaining agreement or agreements as to wages received and hours worked by such
                       employees to determine amounts required to be paid to the Plaintiffs, covering the
                       period for which the collective bargaining agreement is to be effective;

           (B)         That Defendant be enjoined and ordered to verify and submit all delinquent monthly
                       contribution reports to Plaintiffs with the information required to be provided
                       thereon, to continue to submit such verified reports while this is pending, and to
                       comply with its contractual obligation to timely submit such reports in the future;

           (C)         That judgment be entered in favor of Plaintiffs and against Defendant for all unpaid
                       contributions, liquidated damages, any costs of auditing Defendant’s records, accrued
                       interest, and Plaintiffs’ reasonable attorneys’ fees and court costs necessarily incurred
                       in this action as specified herein, or as subsequently determined, all as provided for
                       in the plans and in ERISA;

           (D)         That Plaintiffs have such further relief as may be deemed just and equitable by the
                       Court, all at Defendant’s cost.

                                                                       /s/ Patrick N. Ryan
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